Case 3:04-cv-008 as Document 1 Filed 04/26/04 @- 1of8 PagelD 1

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I. (a) PLAINTIFFS
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CLERK, U.S. DISTRICT COURT

NORTHERN DISTRICT OF TEXAS

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(C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE eeee Py
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ATTORNEYS (F KNOWN) Russe ff

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(For Diversity Cases Only) AND ONE BOX FOR DEFENDANT}
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IV. NATURE OF SUIT (PLACE AN "X" IN ONE BOX ONLY) :
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES:
110 Insurance PERSONAL INJURY PERSONAL INJURY 0 610 Agricutture (J 422 Appeal 28 USC 158 DD 400 State Reapportionment
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Proceeding © State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION (CITE THE US. U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

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VIILRELATED CASE(S) (See instructions):

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APPLYING IFP

MAG. JUDGE
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ERIC JOHNSON

Vv.

ONE BEACON INSURANCE COMPANY,
GENERAL ACCIDENT INSURANCE
COMPANY OF AMERICA and

DAVID JOHNSON

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CLERK, US DISTRICT CCu'r
| _NORTHERN DISTRICT OF”

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CIVIL ACTION NO.

1. STYLE OF CASE:

-PARTY AND PARTY TYPE
Eric Johnson,
Plaintiff

One Beacon Insurance Company, General
Accident Insurance Company of America, and
David Johnson

Defendants

2. JURY DEMAND
Was Jury Demand made?

Yes.

ATTORNEY(S)
Mr. Robert W. Loree

State Bar No. 12579200

Mr. Todd Lipscomb

State Bar No. 00789836

Loree, Hernandez & Lipscomb, PLLC
3838 Medical Drive, Suite 130

San Antonio, Texas 78229
210/615-0381

210/615-1852 (FAX)

Mr. Russell J. Bowman

State Bar No. 02751550

Scott, Bowman & Stella

3131 McKinney Avenue, Suite 730
Dallas, TX 75204

214/922-0220

214/922-0225 (FAX)

SUPPLEMENTAL CIVIL COVER SHEET FRO A REMOVED CASE - Page 1
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3. ANSWER:

Was an Answer made in State Court?

Yes.

4, UNSERVED PARTIES

The following parties have not been served at the time this case was removed: None.

5. NONSUITED, DISMISSED OR TERMINATED PARTIES:

PARTY

None

6. CLAIMS OF THE PARTIES:

REASON
N/A

The filing parties submit the following summary of the remaining claims of each party in this

litigation:

PARTY

Plaintiff, Eric Johnson

Defendants, One Beacon Ins. Co.,
General Accident Insurance Co. of
America and David Johnson

CLAIM(S)

Plaintiff seeks recovery on a homeowner’s
policy issued by Defendant for claimed loss
due to foundation movement. Plaintiff seeks
to recover for that claimed loss, attorney’s
fees and extra-contractual damages.

Defendants contend they have no liability for
Plaintiff’s insurance claim involved in this

lawsuit, and that no indemnification is owed
under the insurance contract involved in this
lawsuit. Defendants General Accident and
David Johnson further contend they have no
contractual relationship with Plaintiff and
therefore no liability to Plaintiff. David
Johnson likewise contends he had no
involvement with Plaintiff's insurance claim
whatsoever, such that he has no liability to
Plaintiff. Defendants further contend their
liability has not become reasonably clear, such
that they have no liability for any of the extra-

SUPPLEMENTAL CIVIL COVER SHEET FRO A REMOVED CASE - Page 2
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contractual claims asserted by Plaintiff.

SUPPLEMENTAL CIVIL COVER SHEET FRO A REMOVED CASE - Page 3
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U.S. DISTRICT COURT

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UNITED STATES DISTRICT COURT APR CX
- NORTHERN DISTRICT OF TEXAS
of DALLAS DIVISION CLERK, U.S. DISTRICT COURT
By
ERIC JOHNSON § Peputy
S04CV-875 M
v. § CIVIL ACTION NO.
§
ONE BEACON INSURANCE COMPANY, §
GENERAL ACCIDENT INSURANCE §
COMPANY OF AMERICA and §
DAVID JOHNSON §

Defendants, One Beacon Insurance Company (“One Beacon’’), General Accident Insurance
Company of America (“General Accident”) and David Johnson, file this Notice of the Removal of
this case from the 160th Judicial District Court of Dallas County, Texas, to the United States District
Court for the Northern District of Texas, Dallas Division, pursuant to 28 U.S.C. § 1441 and 1446(b),
and would show the Court as follows:

1.

One Beacon, General Accident and David Johnson are Defendants in Cause No. 04-02476-H,
entitled “Eric Johnson v. One Beacon Insurance Company, General Accident Insurance Company
of America and David Johnson,” currently pending in the 160th Judicial District Court of Dallas
County, Texas. That lawsuit was originally filed on March 25, 2004 in the 160th Judicial District
Court of Dallas County, Texas.

2.

Defendants first received notice of Plaintiff's lawsuit when Defendants were served on March

26, 2004 with citation and a copy of Plaintiffs lawsuit. The thirtieth day after service of the lawsuit

would be Sunday, April 25, 2004, a legal holiday. This would give Defendants until Monday, April

NOTICE OF REMOVAL - Page 1

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26, 2004 to file this removal. As this notice is being filed on Monday, April 26, 2004, this removal
timely under 28 U.S.C. § 1446(b).
3.

At the date of commencement of this action and at all pertinent times, Plaintiff was and is

a citizen of the State of Texas, being a Texas resident residing in Dallas County, Texas.
4.

At the time that this lawsuit was commenced, One Beacon was a citizen of the States of
Pennsylvania and Massachusetts, being a corporation incorporated in the State of Pennsylvania, and
having its principal office in the State of Massachusetts. General Accident no longer exists, having
been merged into One Beacon on December 6, 1999. However, when it was in existence, General
Accident was a citizen of the States of Pennsylvania and Massachusetts, being an insurance company
incorporated in the State of Pennsylvania and having its principal place of business in the State of
Massachusetts. Defendant David Johnson’s citizenship is not considered for jurisdictional purposes,
as his joinder in this lawsuit is fraudulent.

5.

This Court has original jurisdiction of this action under 28 U.S.C. § 1332, and it may be
removed to this Court, pursuant to 28 U.S.C. § 1441, it being a civil action wherein the amount in
controversy exceeds $75,000.00, exclusive of interest and costs, as between citizens of different
states.

6.

As required by Local Rule 81.1, copies of the following documents are attached hereto as

Exhibits:

A. An Index of all documents identifying the document and stating the date said

NOTICE OF REMOVAL - Page 2

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document was filed in the state court;
B. A copy of the docket sheet in the state court action;

C. Each document filed in the state court action, individually tabbed and arranged in
chronological order:

1. Plaintiff's Original Petition (filed March 25, 2004)

2. Citation to Defendant One Beacon (issued March 25, 2004);

3. Citation to Defendant General Accident (issued March 25, 2004);
4. Citation to Defendant David Johnson (issued March 25, 2004); and
5. Original Answer of Defendants (filed April 20, 2004).

D. A separately signed certificate of interested persons in compliance with local rule

3.1(6).

To the best of the Defendants’ knowledge, no other pleading, process or order has been filed
or served in the state court lawsuit referred to above.

Wherefore, Defendants pray that this action be removed to this Court from the 160th Judicial
District Court of Dallas County, Texas and for further proceedings as may be necessary.

Respectfully submitted,

Rt \ Borman

Russell J. Bowmyn’

Texas State Bar No. 02751550
3131 McKinney Avenue, Suite 730
Dallas, TX 75204

(214) 922-0220

(214) 922-0225 (FAX)
ATTORNEY FOR DEFENDANTS

NOTICE OF REMOVAL - Page 3
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CERTIFICATE OF SERVICE
I hereby certify that a copy of the above document has been sent, on this IML, day of
Ao pt | , 2004, to all counsel of record, as indicated below:
Mr. Robert W. Loree VIA REGULAR MAIL
3838 Medical Drive
Suite 130

San Antonio, Texas 78229

Russell J. Bowman )

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